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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-CR-60020-DIMITROULEAS/SNOW


    UNITED STATES OF AMERICA,

                  Plaintiff,

    vs.

    RICHARD WASERSTEIN,

                   Defendant.


                            PRELIMINARY ORDER OF FORFEITURE

          THIS CAUSE is before the Court upon the Motion by the United States of America (the

  “United States”) for a preliminary order of forfeiture (the “Motion”) [ECF No. 563]. Having reviewed

  the Motion, the record, and the applicable law, the Court finds as follows with respect to forfeiture

  and the Defendant, Richard Waserstein:

          1.      On July 29, 2020, the Defendant was charged in a thirty-five (35)-count Indictment

  [ECF No. 110]. As relevant here, Count Twenty-Four of the Indictment charged the Defendant with

  conspiracy to money laundering, in violation of Title 18, United States Code, Section 1956(h).

          2.      The Indictment provided notice in its forfeiture allegations that the United States

  intends to forfeit any property, real or personal, involved in the violation of Title 18, United States

  Code, Section 1956(h), or any property traceable to such property. See Indictment, ECF No. 110 at 40-

  42.

          3.      On February 16, 2022, the Court conducted a change of plea hearing in this case,

  during which the Defendant pled guilty to Count Twenty-Four of the Indictment. See Change of Plea

  Minutes, ECF No. 500; Plea Agreement, ECF No. 506. On pages 8-9, paragraph 16, of the Plea
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  Agreement [ECF No. 506], the Defendant agreed to forfeit the following personal property pursuant

  to Title 18, United States Code, Section 982(a)(1):

                   (a)     All funds on deposit or previously seized by the United States from Bank of

  America account 003765605611 held in the name of the Richard Waserstein;

                   (b)     All funds on deposit or previously seized by the United States from Bank of

  America account 898082983551 held in the name of Waterstone Capital Management, LLC;

                   (c)     All funds on deposit or previously seized by the United States from Marquis

  Bank account 11049575, held in the name of Ness Group Foundation, Inc; and

                   (d)     All funds on deposit or previously seized by the United States from Iberia

  Bank account 42001002971, held in the name of Ness Group Foundation, Inc.

   (collectively, the “Personal Property”).

           4.      In support of his guilty plea, the Defendant executed a Factual Proffer, and the Court

   found that there was a factual basis to support the Defendant’s conviction. See Factual Proffer, ECF

   No. 507.

           5.      The Court set the Defendant’s sentence for April 27, 2022. See Order, ECF No. 501.

           Therefore, based on the foregoing, the Court hereby

           ORDERS and ADJUDGES that:

           1.      The Motion is GRANTED.

           2.      The following property is hereby forfeited and vested in the United States of America

   pursuant to Title 18, United States Code, Section 982(a)(1), Title 21, United States Code, Section 853,

   and Rule 32.2 of the Federal Rules of Criminal Procedure:

                   (a)     All funds on deposit or previously seized by the United States from Bank of

   America account 003765605611 held in the name of the Richard Waserstein;

                   (b)     All funds on deposit or previously seized by the United States from Bank of


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  America account 898082983551 held in the name of Waterstone Capital Management, LLC;

                  (c)     All funds on deposit or previously seized by the United States from Marquis

  Bank account 11049575, held in the name of Ness Group Foundation, Inc; and

                  (d)     All funds on deposit or previously seized by the United States from Iberia

  Bank account 42001002971, held in the name of Ness Group Foundation, Inc.

  (collectively, the “Personal Property”).

          3.      The United States, or any duly authorized law enforcement agency, is authorized and

  may seize the Personal Property pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal

  Procedure.

          4.      The United States is authorized to conduct any discovery that might be necessary to

  identify, locate, or dispose of the Personal Property, and to resolve any third-party petition, pursuant

  to Rule 32.2(b)(3), (c)(1)(B) of the Federal Rules of Criminal Procedure, and Title 21, United States

  Code, Section 853(m).

          5.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this Order is

  final as to the Defendant.

          6.      The Court shall retain jurisdiction in this matter for the purpose of enforcing this

  Order, and pursuant to Rule 32.2(e)(1) of the Federal Rules of Criminal Procedure, shall amend this

  Order, or enter other orders as necessary, to forfeit additional specific property when identified.

          DONE AND ORDERED in Chambers, at Fort Lauderdale, Florida this 11th day of March

  2022.




  cc:     counsel of record

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